                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION


DAVID CHERRY, Personal Representative )
of the ESTATE OF PAMELA CHERRY, )
DECEASED,                             )
                                      )
             Plaintiff,               )
                                      )               CASE NO. 2:12-cv-00043
        vs.                           )
                                      )
HANNA C. ILIA, M.D.,                  )
                                      )
             Defendant.               )

              PLAINTIFF’S NOTICE OF COMPLETION OF SETTLEMENT
              AND UNOPPOSED MOTION TO DISMISS WITH PREJUDICE

        Plaintiff, David Cherry, Personal Representative of the Estate of Pamela Cherry,

deceased, by counsel, respectfully submits his Notice of Completion of Settlement and

Unopposed Motion to Dismiss with Prejudice and states as follows:

        1.     On March 27, 2015, Plaintiff submitted a Notice of Settlement to the Court.

        2.     On April 14, 2014, Defendant, Hanna C. Ilia, M.D., filed a Motion for Extension

of fourteen days to file a stipulation of dismissal. This was granted by the Court on April 15,

2015.

        3.     Since that time, a release has been signed and the settlement has been completed.

The Parties are in a position to dismiss this action with prejudice.

        4.     As a result, Plaintiff respectfully moves this Court to dismiss his action against

Dr. Ilia with prejudice, each side to bear their own costs.

        5.     Plaintiff has contacted the Defendant’s counsel; he has no objection to this

Motion.



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       WHEREFORE, Plaintiff, David Cherry, Personal Representative of the Estate of Pamela

Cherry, respectfully moves this Court to dismiss his action against Defendant, Hanna C. Ilia,

M.D., with prejudice, each party to bear their own costs, and for all other relief just and proper in

the premises.

                                                      Respectfully submitted,

                                                      WILSON KEHOE WININGHAM LLC

                                                      s/D. Bruce Kehoe__________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of March, 2015, I electronically filed the foregoing

with the Clerk of the Court using the EM/ECF system which sent notification of such filing to

the following:

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